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TAB 21
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

MDL NO. 1456 / CIVIL ACTION NO. 01-12257-PBS

IN RE: PHARMACEUTICAL INDUSTRY AVERAGE

WHOLESALE PRICE LITIGATION

THIS DOCUMENT RELATES TO:
UNITED STATES OF AMERICA, EX REL.
VEN-A-CARE OF THE FLORIDA KEYS, INC.
vs. a
BOEHRINGER INGELHEIM CORPORATION, ET AL.

CIVIL ACTION NO. 07-10248-PBS

CAPTIONS CONTINUED ON FOLLOWING PAGES

Videotape deposition of MARK SHAFFER, taken

pursuant to the Federal Rules of Civil Procedure,
before Melissa J. Kelly, RPR, CRR, Licensed

Shorthand Reporter #00307, and Notary Public within ‘
and for the State of Connecticut, held at the
Sheraton Danbury Hotel, 18 Old Ridgebury Road, 4

Danbury, Connecticut, on May 21, 2008, at 10:09 a.m.

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13 (Pages 46 to 49)
46 48 [5
1 What I said at the beginning of the 1 for the record we'll let the proceedings proceed
2 deposition is that Roxane's position is that Ven- 2 with Ven-A-Care's lawyers asking the questions
3 A-Care does not have any independent claims or 3 subject to our objection that that -- those
4 independent rights to ask questions that are not 4 questions would be on behalf of and in pursuit of
5 related to the government claims and on behalf of 5 the government's claims other than any original
6 the government. And so we object to Ven-A-Care's) 6 source-type questions, which we do believe Ven-A-
7 lawyers questioning the witness unless it has 7 Care has an independent right to ask.
8 been authorized to do so on behalf of the 8 MR. KILMAN: This is Matt Kilman from
9 government and in pursuant of the government's 9 the State of California. And if] could just
10 claims other than original resource-type 10 also put on the record that California cross
11 questions. 11 noticed the deposition for the purpose of
12 So I just wanted to get on the record 12 judicial economy and pursuant to the CMO and
13 that the government has designated Ven-A-Care to | 13 RMVL, and we reserve the right to ask our own
14 take questions in this deposition on behalf of 14 line of questions.
15 the government in pursuit of those claims and 15 MS. RIVERA: Okay.
16 there won't be duplicative questions between what | 16 MS. POLLACK: Okay.
17 Ven-A-Care's lawyers will be asking of Mr. 17 MS. ROGERS: And that would be the same
18 Shaffer and any questions that the government may| 18 for the state of Florida.
19 have. 19 MS. RIVERA: Understood.
20 MS. OBEREMBT: As Roxane knows, we 20 BY MS. POLLACK:
21 believe their position is completely inconsistent 21 Q. Okay. Mr. Shaffer, we're going to go
22 with explicit statutory language under the false 22 back to the sales meetings in 1994 through 1998.
47 49},
1 claims act. And the only thing that I wanted to 1 Did BIPI personnel attend the same
2 say is that we're not going to have duplicative 2 sales meetings as the Roxane personnel?
3 questioning of the witness. 3 A. No, they did not.
4 MS. RIVERA: Okay. So you're not 4 Q. Did you get involved in providing any
5 willing to say that Ven-A-Care has been 5 of the materials that were presented at those
6 authorized on behalf of the government to ask 6 sales meetings in that time frame?
7 questions on behalf of government claims? 7 A. I'm not sure what you mean "involved."
8 MS. OBEREMBT: Ven-A-Care is a 8 Q. Well, as the area sales manager, would
9 plaintiff in this matter and is such able to ask 9 you help set the agenda for the meetings?
10 questions both on their own behalf, and in this 10 A. No.
11 instance we have asked relator's counsel to be 11 Q. Who was --
12 the lead questioner on this deposition. 12 A. That was set by marketing.
13 MS. RIVERA: On behalf of both Ven-A-} 13 Q. By marketing?
14 Care and the government; is that correct? 14 A. Marketing would set the agenda, right.
15 MS. OBEREMBT: If that's a meaningful | 15 Q. Okay. And who would that be? Would
16 statement to you, you're welcome to make that, | 16 that be Tom Via or --
17 but Ven-A-Care we believe has an independent | 17 A. Over that time frame there were a
18 right to ask questions here. 18 number of different individuals in the sarktind
19 In this deposition they will be taking 19 department at Roxane.
20 the lead, and I do not intend to be asking 20 Q. Would you make presentations at any of
21 questions. 21 these sales meetings?
22 22 A. We would normally at sales meetings

MS. RIVERA: Okay. Well, as I said,

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14 (Pages 50 to 53)
50 52
1 have breakouts with our individual teams, and we 1 will.
2 would basically facilitate the meeting. 2 Q. But you said you also and the people
3 Q. You wouldn't make presentations to the 3 who worked for you would also call on pharmacies; ||;
4 entire group that was -- 4 is that correct? :
5 A. No. That was basically marketing and 5 A. Occasionally, yes. .
6 the home office. 6 Q. When you were the area sales manager,
7 Q. Okay. And which home office was that? 7 did you get involved in contracting at all? :
8 A. Roxane Laboratories. 8 A. No, I didn't.
9 Q. In your position as the senior area 9 Q. Did you call on customers like long-
10 sales manager, did you ever get involved with 10 term care facilities?
11 pricing of Roxane drugs? 11 A. I don't recall. At Roxane |
12. A. No, didn't. 12 Laboratories?
13 MS. RIVERA: Object to form. 13 Q. Yes. :
14 BY MS. POLLACK: 14 A. I don't recall if we called on long-
15 Q. Who set the pricing for the Roxane 15 term care facilities. I don't think we did.
16 drugs? 16 Q. Did you call on any Hospice customers?
17 A. Pricing was set by Roxane, the company. 17 A. We did call on Hospice. i
18 Q. But what department or group? 18 Q. As part of Roxane? :
19 A. I would think marketing set the pricing 19 A. As part of Roxane. .
20 or had some say-so in the pricing. 20 Q. And that would be to sell the drugs you
21 Q. Anybody else involved in that process? 21 identified earlier?
22 MS. RIVERA: Object to form. 22. Yes,
51 53],
1 THE WITNESS: I don't know. 1 Q. How did marketing interact with the !
2 BY MS. POLLACK: 2 sales managers?
3 Q. Well, as a sales representative, if you 3 A. At sales meetings, like I mentioned
4 were out in the field and you learned of a price 4 earlier, there would be interaction. There may
5 that a competitor was charging for a competitive 5 have been occasional conference calls or other ‘
6 drug, wouldn't you provide that information to 6 meetings where we might have run into the i
7 the marketing folks? 7 marketing folks. But for the most part, as I
8 A. There was communication that would come 8 mentioned, they were inside at the home office |
9 back into the home office, yes. 9 and we were in the field; so we were separate. :
10 Q. Was that part of your job duties, to 10 Q. What types of information would they
11 provide that sort of information if you learned 11. provide on these telephone calls?
12 it? 12 A. It could be a vast array of information :
13 A. Not one of my priorities, no. 13 on our products, on updates, on promotional |};
14 Q. But you would do it? 14 materials, on competitive information. :
15 A. It would depend on the situation. 15 Q. Would that competitive information
16 Q. Okay. Would you direct the people who 16 include the prices that competitors were charging :
17 reported to you that if they learned of pricing 17 for similar drugs? :
18 of competitive products to report that back to 18 A. I don't recall. It could have. :
19 you? 19 Q. Did you ever get marketing materials :
20 A. Not really. I mean, our 20 that talked about the prices your competitors :
21 responsibilities were focused with the physician 21 were charging for the competitive drugs? >
22 in driving prescriptions -- in detailing, if you 22 A. There may have been some, yes.

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15 (Pages 54 to 57)
54 56 :

1 Q. Was that a pretty regular thing, that 1 Q. Were there any interim meetings of the

2 you would get updates on the competitors’ prices? 2 area managers?

3 A. No. Because I think most of our 3 A. No. Because our territories were so

4 efforts were focused on our activities and our 4 large.

5 messaging with our customer. 5 Q. During the time that you were the

6 Q. Now, you said in 1999 you became the 6 senior area sales manager, did Roxane launch any

7 director of palliative care sales; is that 7 new drugs?

8 correct? 8 MS. RIVERA: Object to form. :

9 A. Yes. 9 THE WITNESS: As I had mentioned :
10 Q. What did that entail? 10 earlier, Viramune was a new drug that we :
11 A. We had started up a new separate sales 11 launched. :
12 team to continue to call on oncologists and pain 12 BY MS. POLLACK: :
13 management physicians along with Hospice, 13 Q. Anything else besides Viramune? :
14 basically promoting certain products to 14 A. Ican't recall. :
15 healthcare professionals to educate them on those| 15 Q. Was there a separate launch meeting to d
16 products for -- to help with palliative care or 16 talk about Viramune?
17 the quality of life in pain control. 17 A. I believe there was. |
18 Q. Did you also call on retail pharmacies? 18 Q. And did that meeting include training :
19 A. Occasionally we did. 19 materials for the sales representatives? ;
20 Q. What percentage of a salesman's efforts 20 A. I believe it did. :
21 would you say were spent calling on retail 21 Q. Would there be presentations made by i
22 pharmacies? 22 various people to talk about the drug? :

55 57 :

1 A. Fifteen, maybe 20 percent. 4 A. As with most sales meetings, yes. :

2 Q. Now, what drugs were sold by this 2 Q. Were there any drugs launched while you

3 palliative care group? 3 were head of the palliative care group?

4 A. Roxanol, Oramorph SR, MarinolandI| 4 A. There was an extension of Roxicodone

5 believe Roxicodone. 5 that was launched on different strengths.

6 Q. Did you also sell a drug called 6 Q. And that was the 15 milligram and the !

7 Duraclon? 7 30 milligram tablets?

8 A. We did sell Duraclon for a short period| 8 A. Yes.

9 of time. 9 Q. Were those drugs launched pursuant to a :
10 Q. Any other drugs that you can recall? 10 new drug application that had been filed by :
11 A. I can't recall any other drugs. 11 Roxane? ;
12 Q. Roxanol, Roxanol T, was that a drug 12  .A. Idon't recall. I'm not sure.
13 that you sold in this group? 13 Q. Were there any clinical trials done in |
14 A. Yes. Roxanol T was very similar to 14 connection with those two new products? i
15 Roxanol. 15 A. I don't recall.
16 Q. And did this group also have sales 16 Q. You don't know. It's possible? i
17 meetings of the type we discussed earlier? 17 A. There may have been. I don't recall. 5
18 A. Yes, we did. 18 Q. Now, you said in 2000 Roxane divested :
19 Q. Were they quarterly; was there any set 19 the palliative care drugs; is that correct?
20 time frame? 20 A. Yes.
21 A. I don't recall. I want to think they 21 Q. Do you know why that occurred?
22 were three times a year. 22

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A. Ido not know why we basically divested]

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MS. RIVERA: Object to form.

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57 (Pages 222 to 225)
222 224 Ik
1 MS. RIVERA: Object to form. 1 THE WITNESS: Again, that's -- you keep
2 THE WITNESS: Right. 2 bringing that up, and that's not how I'm looking
3 MS. RIVERA: What do you mean by 3 at it.
4 "Boehringer Ingelheim"? 4 BY MS. POLLACK:
5 BY MS. POLLACK: 5 Q. How are you looking at it?
6 Q. The Boehringer Ingelheim worldwide 6 A. I'm looking at it that the product was
7 organization, right? 7 priced so pharmacies would bring the product in ||;
8 MS. RIVERA: Object to form. 8 and we would not be substituted because of the
9 BY MS. POLLACK: 9 new 15 and 30 milligram strengths being availablq:
10 Q. You can answer. 10 and prescriptions are being driven.
11 A. It's part of Boehringer Ingelheim. 11 Q. Okay. Now, Roxane at that time
12 Q. In fact, all the stationery says right 12 manufactured and sold a 5 milligram Roxicodone
13 in the upper right-hand corner "Boehringer 13 tablet; is that correct?
14 Ingelheim"; isn't that correct? 14 A. Yes, correct.
15 A. I'm not sure which stationery you're 15 Q. So you could have been substituted with
16 referring to. 16 the Roxane product under your scenario, correct?
17 Q. Okay. You can look at the documents we} 17 A. It could have been, yes.
18 looked at today. 18 Q. Okay. Now we get to page 35 which is
19 Okay. If you look at page 29, it lists 19 also Shaffer 1486, and this outlines the pricing
20 the key strategies; and the first one is "target 20 approach, doesn't it?
21 distribution to high-volume C2 analgesic 21 A. That's what the document says, "pricing
22 pharmacies," correct? 22 approach."
223 225 |
1 A. Correct. 1 Q. Okay. And it says, "Set AWP and WAC atlf:
2 Q. That's what you just mentioned, is to 2 alevel favorable to the average for oxycodone
3 get the product into the pharmacies, right? 3 class for equivalent number of 5 milligram
4 A. Yup. 4 tablets,” right?
5 MS. RIVERA: Sorry. What page are you] 5 A. Yes.
6 on? 6 Q. “Equivalent or higher reimbursement
7 MS. POLLACK: 1480. It's 29. 7 levels, AWP minus a percentage."
8 MS. RIVERA: Okay. Thank you. 8 A. That's what it says.
9 BY MS. POLLACK: 9 Q. And "minimal need for contract
10 Q. And also listed is price for favorable 10 pricing"?
11 retail reimbursement, correct? 11 A. That's what it says, yes.
12 MS. RIVERA: Object to form. What is 12 Q. Wasn't in fact -- weren't in fact these
13 the question? That's what it says? 13 two strengths sold at contract prices to GPOs?
14 BY MS. POLLACK: 14 A. I don't recall. I -- because the
15 Q. I'm asking: One of the key strategies 15 product was only on the market for several
16 listed here was price for favorable retail 16 months, and I don't recall if we put that on
17 reimbursement? 17 contracts or not.
18 A. That's what it has on here, yes. 18 Q. Well, wasn't the product on the market
19 Q. And that was to provide more profit to 19 for at least a year?
20 the pharmacy to fill a prescription with the 15 20 A. It may have been. Let me rephrase my
21 and 30 milligrams, correct? 21 comment.
22 22 It was -- while we were at Roxane
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58 (Pages 226 to 229)

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226

Laboratories, that fall the division was
dissolved, I believe, in November. So our
activity was limited to two months, I believe,
with this product.

Q. November or at the end of the year that
the division was --

A. I think it was in -- at the end of
November.

Q. Okay. If you look at page 1489, it
says: "For contracting, limit discounts to a
maximum of 10 percent to provide an incentive to
substitute 15 milligram for three 5 milligram or
30 milligram for six 5 milligram."

Does that indicate that the contract

price would be up to 10 percent off the WAC?

A. Again, I wasn't involved with pricing.
I don't recall the contract pricing.

Q. And the other bullet on this point
says: "Select only accounts that can move market

228

Q. And the goal, of course, was to
increase your market share, right? That's what
the sales force was supposed to do?

A. I think that's a fair statement.

Q. How was the sales force compensated?

A. We were compensated, like a lot of

pharmaceutical companies, by bonuses. J believell:

we were on a quarterly basis based on goal
attainment, quota attainment.

Q. And when you say "bonus," was that a
commission or --

A. It was an extra bonus commission.

Q. Based on amount of sales; is that what
you're saying?

A. Based on goal attainment, yes.

Q. Was that an increase in sales over last
year? How was that calculated?

A. I don't recall. I wasn't involved with
setting of those goals.

20 share." 20 Q. But you had one every year?
21 What does that mean? 21 A. Absolutely.
22 A. I'm not sure what that bullet point 22 Q. And as the manager of the palliative
227 229

1 means under "strategy." 1 care sales force, you had one too, correct?

2 Q. Was market share a concept that was 2 A. I don't recall my -- what my plan was

3 discussed at the palliative care sales meetings? 3 like compared to the sales representatives

4 A. I don't recall. I mean, other than 4 specifically.

5 your initial slides from marketing talking 5 Q. When the sales representatives got

6 historically about the product and the growth of| 6 these bonuses, were there occasions where a

7 the product, trends of the product in share, 7 portion of their bonus was based on selling a

8 other than that, I don't recall. 8 particular drug as opposed to the total sales

9 Q. So you would look at what percent of 9 that they were responsible for?
10 the coating market was sold by Roxane and sold by| 10 A. Yes. The bonuses -- the plans were set
11 Purdue Frederick or other competitors; is that 11 up according to promote a product.
12 correct? 12 Q. So some years Roxane would be promoting]|*
13 A. Yes. 13 product X more than maybe the rest of the product :
14 Q. And then you would break it down to 14 line?
15 each of the codone products that were sold by 15 A. Yes.
16 Roxane, what percentage product had of the total 16 Q. And page 39 indicates as part of the
17 market? 17 pricing strategy was "a Medicaid reimbursement
18 A. I don't believe the specific -- I don't 18 plan which included submitting requests for the
19 remember the specifics with the breakdown, but; 19 Roxicodone 15 and 30 milligram tablets to be
20 that's -- 20 added to state Medicaid formularies." Do you see
21 Q. The type of thing you looked at. 21 that?
22 22 A. I see it on here.

A. -- the type of thing.

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